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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                      10/20/2020

REED,

                                                Plaintiffs,             20-CV-7584 (AJN) (KHP)

                             -against-                               ORDER OF STAY AND ABEYANCE


JOHNSON, Superintendent

                                                Defendant.

-----------------------------------------------------------------X
KATHARINE H. PARKER, United States Magistrate Judge:

         Petitioner, currently incarcerated at the Greenhaven Correctional Facility, recently filed

a pro se letter seeking a stay of his petition for a writ of habeas corpus to challenge his Bronx

County conviction. (ECF Nos. 10, 11.) Petitioner initiated this suit by timely filing his habeas

petition on September 14, 2020, pursuant to 28 U.S.C. § 2254. (ECF No. 2.) On September 23,

2020, the District Judge, the Hon. Alison J. Nathan, ordered Defendant to answer Petitioner’s

habeas petition. (ECF No. 6.) Shortly thereafter, Petitioner submitted two letters requesting a

stay of this proceeding, and a stay of Defendant’s time to answer the petition pursuant to Judge

Nathan’s September 23 order. Petitioner intends to file a New York Criminal Procedure Law

(“C.P.L.”) § 440.10 motion for post-judgment relief in Bronx Supreme Court, which he was in

the process of completing when the COVID-19 pandemic broke out. New York state courts

stopped accepting motions for a significant duration, and restrictions were put in place within

prisons to minimize prisoner contact in light of the pandemic. (See ECF No. 10.) Knowing that

his petition would be dismissed for failure to exhaust state remedies if he is unable to initiate
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and complete the C.P.L. § 440.10 motion, Petitioner now asks this court to hold his habeas

petition in abeyance to enable him to exhaust his state remedies.

       Given the Petitioner’s timeliness in initiating this suit, and given the unique and

challenging circumstances posed by the COVID-19 pandemic, the Court hereby GRANTS

Petitioner’s request for a stay of this litigation, and stays Defendant’s time to answer the

habeas petition. Petitioner is directed to submit a status letter within 90 days informing the

Court of the status of the state court proceedings.

       The Clerk of Court is kindly requested to mail this order to the Plaintiff.

       SO ORDERED.

DATED:      New York, New York
            October 20, 2020

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                                                      KATHARINE H. PARKER
                                                      United States Magistrate Judge




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